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                    Exhibit A
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                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 23467921
Notice of Service of Process                                                                            Date Processed: 07/12/2021

Primary Contact:           SOP UPS - United Parcel
                           SOP - PowerBrief - Wilmington
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Electronic copy provided to:                   CSC Test
                                               Arlette Willis
                                               Bishop Martin
                                               Salem Desir
                                               Sonja Jackson

Entity:                                       United Parcel Service, Inc.
                                              Entity ID Number 2551129
Entity Served:                                United Parcel Service Inc
Title of Action:                              Jimmie Lucas vs. United Parcel Service, Inc.
Matter Name/ID:                               Jimmie Lucas vs. United Parcel Service, Inc. (11389990)
Document(s) Type:                             Amended Complaint/Petition
Nature of Action:                             Labor / Employment
Court/Agency:                                 Lexington County Court of Common Pleas, SC
Case/Reference No:                            2021-CP-32-02203
Jurisdiction Served:                          South Carolina
Date Served on CSC:                           07/09/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Certified Mail
Sender Information:                           Iris W. Ray
                                              803-799-9530
Client Requested Information:                 Matter Type: Other/NA

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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                             C IB IP IH
                CROMER BABB PORTER & HICKS, LLC
                    Attorneys and Counselors dt Law
                       J. Lewis Cromer * Julius W Babb, IV * J. Paul Porter * Ryan K. Hicks
               Shannon M. Polvi * Samantha E. Albrecht * Elizabeth M. Bowen * Elizabeth S. Millender




                                                  July 7, 2021




Certified Mail, Return Receipt ReAuested                      Receipt #91 7199 9991 7037 2950 2342
Corporation Service Company
Registered Agent for United Parcel Service, Inc.
508 Meeting Street
West Columbia, SC 29169

       Re:     Jimmie Lucas and Clarence Wilson vs. United Parcel Service, Inc.
               Case No. 2021-CP-32-2203

Dear Sir or Madam:

        Please find enclosed and served upon you as the Registered Agent for United Parcel
Service, Inc. is a filed copy of the Amended Summons and Amended Complaint in connection
with the above referenced matter. Please remit to United Parcel Service, Inc.'s legal representative
as soon as possible.

       With kind regards, I remain

                                                              Sincerely,

                                                              &A~ W ' ~-at
                                                              Iris W. Ray
                                                              Senior Litigation Paralegal
/iwr
Enclosures




        P.O. BOX 11675 (29211) * 1418 LAUREL STREET, SUITE A* COLUMBIA, SOUTH CAROLINA 29201
                   PHONE: 803-799-9530 * FAX: 803-799-9533 * HZTP://WWW.CBPHLAW.00141
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 STATE OF SOUTH CAROLINA                              IN THE COURT OF COMMON PLEAS
                                                         ELEVENTH JUDICIAL CIRCUIT
 COUNTY OF LEXINGTON                                       C/A No.: 2021-CP-32-02203


 Jimmie Lucas and Clarence Wilson,


                       Plaintiffs,                        CERTIFICATE OF SERVICE

 LI'A



 United Parcel Service, Iric.,

                       Defendant.


           This is to certify that the undersigned employee of Cromer Babb Porter & Hicks, LLC, did

cause to have served on July 7, 2021, a copy of the Amended Summons and Amended Complaint,

by First Class Mail, certified mail, return receipt requested, postage prepaid, to the following at

the below indicated address:



Certifi'ed Mail, Return Receipt Re4arested             Receipt #91 7199 9991 7037 2950 2342
Corporation Service Company
Registered Agent for United Parcel Service, Inc.
508 Meeting Street
West Columbia, SC 29169




                                               Iris W. Ray, Senior Litigation aralegal
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 STATE OF SOUTH CAROLINA                           IN THE COURT OF COMMON PLEAS
                                                     ELEVENTH JUDICIAL CIRCUIT
 COUNTY OF LEXINGTON                                    C/A No.: 202 1-CP-32-02203


 Jimmie Lucas and Clarence Wilson,


                    Plaintiffs,                            AMENDED SUMMONS

 ►y

 United Parcel Service, Inc.,

                    Defendant.


TO THE DEFENDANT ABOVE NAMED:

       YOU ARE HEREBY SUMMONED and required to answer the Amended Complaint

herein, a copy of which is served upon you, and to serve a copy of your answer to this Amended

Complaint upon the subscriber at the address shown below within thirry (30) days (thirty five (35)

days if served by United States Mail) after service hereof, exclusive of the date of such service,

and if you fail to answer the Amended Complaint, judgment by default will be rendered against

you for the relief demanded in the Amended Complaint.

                                             CROMER BABB PORTER & HICKS, LLC

                                             BY:    s/Shannon Polvi
                                                    Shannon Polvi (#101837)
                                                    1418 Laurel Street, Suite A
                                                    Post Office Box 11675 (29201)
                                                    Columbia, South Carolina 29211
                                                    Phone 803-799-9530
                                                    Fax    803-799-9533
                                                    Attorney for Plaintiff

July 7, 2021
Columbia, South Carolina
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 STATE OF SOUTH CAROLINA                             IN THE COURT OF COMMON PLEAS
                                                       ELEVENTH JUDICIAL CIRCUIT
 COUNTY OF LEXINGTON                                      C/A No.: 2021-CP-32-02203


 Jimmie Lucas and Clarence Wilson, Jr.

                        Plaintiffs,                       AMENDED COMPLAINT
                                                           (Jury Trial Demanded)
 V.

 United Parcel Service, Inc.,

                         Defendant.


                                      EMPLOYMENT CASE

       Plaintiffs, complaining of Defendant herein, would respectfully allege as follows:

                                 PARTIES & JURISDICTION

       1.      Plaintiffs Jimmie Lucas and Clarence Wilson, Jr. ("Plaintiffs") are citizens and

residents of Lexington County, South Carolina.

       2.      Defendant United Parcel Service, Inc. ("Defendant") is a company operating in the

State of South Carolina, does business in Lexington County, and has offices, agents, and

employees in the State of South Carolina.

       3.      This action arises under the Fair Labor Standards Act ("FLSA"), 29 U.S.C. § 201

et seq.; South Carolina Payment of Wages Act ("SCPWA"), S.C. Code Ann. § 41-10-10 et seq.;

and the common law of South Carolina. The causes of action are pled individually and, in the

alternat'ive, where necessary.

       4.      Defendant is an "employer" within the meaning of the FLSA and SCPWA.

       5.      Plaintiffs are "employees" of Defendant within the meaning of the FLSA and

SCPWA.



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        6.     Venue is proper because the Plaintiffs are employed by Defendant in Lexington

County and the majority of the acts giving rise to this action occurred in Lexington County.

                                  FACTUAL ALLEGATIONS

        7.     Plaintiffs are drivers for Defendant.

        8.     Plaintiffs are long term employees of Defendant, with decades of experience.

        9.     Defendant has engaged in a pattern and practice of not paying its drivers at the 124

Creekside, Road, West Columbia 29172 location for all time worked.

       10.     Defendant has failed to pay Plaintiffs, and their peers, for equipment preparation

time. The scope of unpaid work time at issue is (1) the drivers' start work time, which includes the

first half hour of each workday with duties including building the loads and pre-staging the loads

that will be delivered by the drivers, and (2) the conclusion of work time when the drivers return

to the facility and are required to perform an end of shift work routine, including completion of

the mileage sheet and turning it in to the dispatch office, which is required daily.

       11.     Defendant still requires the Plaintiffs to punch in with a timeclock and perform

services for the benefit of Defendant and yet not pay Plaintiffs wages for those mandatory duties.

       12.     The paperwork relevant to this unpaid work time includes the timeclock records,

mileage sheets, and the records maintained on the Acquisition ELD Device.

       13.     Plaintiffs are union members with the International Brotherhood of Teamsters,

Local Chapter 509. Plaintiff Jimmie Lucas has served as the union shop steward for about thirty-

four years.

       14.     Plaintiffs have exhausted their rights under their collective bargaining agreement,

including but not limited to a deadlocked national panel between March 9-12, 2020.




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        15.    Plaintiffs have each filed over 83 separate grievances a piece, seeking correct wage

payment. Each separate grievance carries a four (4) hour per week penalty under those

circumstances and would be stacked on top of each other, turning into a significant number of

penalties owed by Defendant to Plaintiffs.

        16.    After one of those grievances, on February 26, 2019, the labor manager stated that

he did not know why Plaintiffs were grieving the unpaid wages because Defendant was

purportedly paying Plaintiffs correctly at that time. For a brief time around that time, Defendant

issued correct paychecks. Defendant has regressed to no longer paying wages for the required and

compensable worktime.

       17.     Without the benefit of all of the documentation yet available to them for calculation

purposes, Plaintiff Jimmie Lucas calculates his base shortage number at $12,929.60 and Plaintiff

Clarence Wilson calculates his base shortage number at $15,220.55.1

       18.     There are at least five other employees at Plaintiffs' workplace that have suffered

similar unpaid wage damages.

       19.     Defendant's managers and representatives have repeatedly threatened both

Plaintiffs with demands that they cease seeking proper wage payment.

       20.     Both Plaintiffs have suffered retal.iatory conduct with regard to adverse changes to

their work schedule and leave time.

       21.     On May 18, 2021, Plaintiffs were called into the office in the morning, and both

were issued a warning letter by supervisor, Haven Holmes, per instruction from Jimmy Forback,

Feeder Manager, for putting the entries of the time they were working on the clock on their mileage




1 These numbers are increasing on a daily basis and are subject to discovery for further
calculations.
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sheets to be paid for the time. Plaintiffs were told not to put anything down for the first 30 minutes

on the clock and they were told that it would continue to be unpaid. Plaintiffs also received the

warning letters in the mail in the following days.

        22.     On May 19, 2021, Plaintiffs were again called into the office in the morning, and

both were issued a 3-day suspension for documenting the time that they had been working at the

start of work. Plaintiff Jimmie Lucas asked when the suspension was effective, and Haven Holmes

said it was to be determined. Again, this suspension was issued per instructions from Jimmy

Forback.

        23.    On May 25, 2021, Plaintiffs were again called into the office in the morning and

Plaintiffs were told that they were terminated. Plaintiff Jimmie Lucas again asked when it was

effective and again told it was to be determined. Plaintiffs both agreed to follow instructions to not

document their work time in order to keep from being terminated for insubordination or not

following instructions about their paychecks. Plaintiffs continued to keep records on a separate

sheet and put only what they were allowed to document on the sheets that they turned in because

of the express ultimatum that if they turned in the payroll documentation reflecting overtime to

which they were owed they would be fired.

       24.     Plaintiffs met with Jimmy For.back the following morning. Plaintiff Jimmie Lucas

asked what was going on with the working terminations and Jimmy Forback responded that if

Plaintiffs followed instructions and stopped putting the entries of when they were working on the

sheets then everything would be just fine. Plaintiffs agreed that they would not write on their sheets

submitted to Defendant for payment, but they would continue to enter their work time in the

electronic recording devices, and they would continue to grieve for correct pay. Plaintiffs have

done so since then but are aware that they are being watched closely.



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       25.     To the extent of Plaintiffs' knowledge, Jimmy Forback was originally the author of

many different mileage sheets, and he was responsible for starting the changes in pay based on

instructions from the Labor Manager Lester Grant. Jimmy Forback was promoted shortly after

basically forcing this mandate on the mileage drivers at the Plaintiffs' work location.

       26.     These discipline and termination threats have caused both Plaintiffs emotional

distress. Both fear that finalization of the `working termination' is imminent. Defendant's

management is intentionally placing them in fear that if they seek payment for the overtime for

which they are owed that termination will be the result. This emotional distress has impacted the

Plaintiffs' daily work environment, as well as their home lives. Plaintiffs have suffered sleepiness,

anxiety for personal finances, and sadness.

       27.     Plaintiffs requests the Court order specific performance of Defendant to

immediately and henceforth pay the drivers at 124 Creekside, Road, West Columbia 29172 for all

compensable work time, to include paid time for all work Defendant wants the drivers to complete

as part of the job responsibilities and cease threats of termination for wage complaints.

                           FOR A FIRST CAUSE OF ACTION
 (Violation of the Fair Labor Standards Act- Failure to Pay Overtime Wages, 29 U.S.C. §
                                              201 et seq.)

       28.     Where consistent herewith, Plaintiffs reallege the foregoing paragraplis.

       29.     Plaintiffs are non-exempt hourly employees of Defendant.

       30.     Throughout the last three years, Defendant did not pay Plaintiffs for overtime

worked for which Plaintiffs provided work for the benefit of Defendant.

       31.     Plaintiffs accrued compensable work time for which they have not been paid, such

time amounts to overtime at the rate of one-and-a-half times their normal rate of pay for all hours

worked in excess of forty hours per week.



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        32.    Defendant failed to compensate Plaintiffs for overtime worked as required by the

FLSA.

        33.    Such actions by Defendant, were performed willfully, intentionally, knowingly,

and in bad faith, are in violation of the FLSA.

        34.    The work and pay records of Plaintiffs are in the possession, custody, and, control,

or any of the above of Defendant, and Defendant is under a duty pursuant to 29 U.S.C. § 211(c),

and pursuant to the regulations of the United States Department of Labor to maintain and preserve

such payroll and other employment records from which the amount of Defendant's liability can be

ascertained.

        35.    Plaintiffs are entitled to lost wages, compensatory damages, liquidated damages,

front pay, attorneys' fees and costs, and any other legal or equitable remedies available under the

FLSA.

                           FOR A SECOND CAUSE OF ACTION
          (Violation of the Fair Labor Standards Act- Section 15(a)(3) Retaliation)

        36.    Where consistent herewith, Plaintiffs reallege the foregoing paragraphs.

        37.    Section 15(a)(3) of the FLSA provides in pertinent part that an employer shall not

"discharge or in any other matter discriminate against any employee because such employee has

filed any complaint or instituted or caused to be instituted any proceeding under or related to this

Act."

        38.    Plaintiffs' actions in reporting the matters referred to herein and repeatedly filing

grievances for unpaid overtime wages constitute protected activities under the FLSA and the

resulting retaliatory treatment, including but not limited to harassment on the job, adverse

scheduling, adverse leave request impacts, and threats of termination are caused by Plaintiffs'

reports and actions taken in opposition to Defendant's efforts to ignore or reject their obligations


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under FLSA for the purpose of saving Defendant overtime wages that belong to its employees who

have worked for and deserve that compensation.

        39.     That as a direct and proximate result of the Defendant's retaliation and actions taken

in their official capacities and in the course of their duties, Plaintiffs have sustained lost wages, as

well as attorney's fees and costs. Plaintiffs also seek emotional distress damages for the physical

and emotional strains they have been subjected to while seeking overtime payment, also the

embarrassment and humiliation, past, present and future. Plaintiffs are also entitled an award of

liquidated damages and punitive damages.


                        FOR A THIRD CAUSE OF ACTION
   (South Carolina Payment of Wages Act Violations, S.C. Code Ann. § 41-10-10, et seq.)

        40.     Where consistent herewith, Plairitiffs reallege the foregoing paragraphs.

        41.     Defendant violated Plaintiffs' rights under the SCPWA, S.C. Code Ann. § 41-10-

10 et seq.

        42.     Defendant required Plaintiffs to work "off the clock," and did not pay them for all

services rendered for the benefit of Defendant.

        43.     Defendant failed to pay Plaintiffs for time worked, which they are entitled to

receive in a timely fashion in the next paycheck after the hours were worked, as required by S.C.

Code Ann. § 41-10-40 and -50.

       44.      Plaintiffs have repeatedly sought timely payment of the unpaid wages. Defendant

continues to refuse and Defendant's failure to pay the Plaintiffs all wages due is willful, without

justification, and in violation of the duty of good faith and fair dealing.




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        45.     Pursuant to S.C. Code Ann. § 41-10-80, Plaintiffs are entitled to the unpaid wages

including three times the amount of wages to which they are owed (treble damages), attorney's

fees, and costs for this specific cause of action.

                               FOR A FOURTH CAUSE OF ACTION
                                      (Promissory Estoppel)

        25.         Where consistent herewith, Plaintiffs reallege the foregoing paragraphs.

        26.     Defendant made an unambiguous promise to pay the Plaintiffs for required work

time. This promise is evidenced by the labor manager's statements and the rare occasions that

Defendant has paid the required work time over the last three years.

        27.     Plaintiffs reasonably relied upon the promises of Defendant to be paid for all work

required of them.

        28.     Such reliance by Plaintiffs is expected and foreseeable by Defendant, who should

fully expect an employee to rely on promises to pay the employee for mandatory job duties and

responsibilities.

       29.      As a direct and proximate result of the reliance on these promises, Plaintiffs have

been deprived of proper income and reimbursements, back pay, lost retirement contributions and

accrual, future damages, and any other economic or equitable remedies available, including but

not limited to specific performance and reclassification of the position. Plaintiffs also seek

reasonable attorney's fees and the costs of this action and any prejudgment interest allowed under

the law and a tax offset for the increased tax consequences of a lump sum wage award.

                                 FOR A FIFTH CAUSE OF ACTION
                                        (Quantum Meruit)

        30.     Where consistent herewith, Plaintiffs reallege the foregoing paragraphs.
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        31.     Defendant has received the benefit of Plaintiffs performing duties daily including

for time that was worked but remains unpaid.

        32.     Despite not having to pay any other employee to conduct Plaintiffs' duties,

Defendant has not paid Plaintiffs the rightfully earned compensation.

        33.     Defendant's retention of Plaintiffs' hard work without paying for its value through

proper compensation constitutes an unjust enrichment for which relief is sought.

        34.    As a direct and proximate result of the Quantum Meruit claim referred to herein,

Plaintiffs are entitled to judgment against Defendant for the full value of the services rendered by

Plaintiffs from the time when the Plaintiffs began such unpaid morning duties, to include lost

income and reimbursements, back pay, lost retirement contributions and accrual, future damages,

and pre judgment interest thereupon and a tax offset for the increased tax consequences of a lump

sum wage award.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs Jimmie Lucas and Clarence Wilson seek equitable relief with

a Court order requiring Defendant United Parcel Service to pay Plaintiffs and their peers for all

compensable work time to include the mandatory morning prep time at issue in this case. Plaintiffs

further pray for judgment against Defendant for the actual damages of the unlawful actions alleged

in this action. Plaintiffs are further entitled to compensatory damages, liquidated damages, punitive

damages, equitable relief, all wage damages, loss of earning capacity, loss of retirement and other

benefits, reputational losses, and mental and emotional distress. Plaintiffs also pray for pre-

judgment interest on all damages, tax offset for the award, attorney's fees, costs of this action, and

any such other relief as the Court may deem just and proper.




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                                   CROMER BABB PORTER & HICKS, LLC


                                      BY: s/Shannon Polvi
                                          Shannon Polvi (Bar #101837)
                                          1418 Laurel Street, Suite A(29201)
                                          Post Office Box 11675
                                         Columbia, South Carolina 29211
                                          Phone 803-799-9530
                                         Fax     803-799-9533
                                      Attorneyfor Plaintiff

July 7, 2021
Columbia, South Carolina




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                                                                  Corporation Service Com Parcel Service, Ine.
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                                                                  Registered Agent for Uni
                                                                  508 Meeting Street
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                                                                  West Columbia, SC 2916
